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   <l!o.AO 245D (CASD) (Rev. 12/11) Judgment in a Criminal Case for Revocations
               Sheet I

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                                             UNITED STATES DISTRICT COURT



                                                                                   (For Revocation of Probation or Supervised Release)
                     JAVIER ASTORGA REYES                                          (For Offenses Committed On or After November I, 1987)

                                                                                   Case Number: 06CR1023-DMS

                                                                                   Jennifer L Coon CJA 

                                                                                   Defendant's Attorney 

   REGISTRATION No. 95731198 

o THE DEFENDANT:
   (£J admitted guilt to violation of allegation(s) No._3....;(:.;..Ju.;..d;...i.cia.;..1No.;..,ti_ce
                                                                                 ..... ........ ........
                                                                                                      taken.....:)
                                                                                                        ........ 
 ........_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   o was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _after denial of guilt.
   ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):

   Allegation Number           Nature of Violation 

           3         Committed a federal, state or local offense (nvl) 





     Supervised Release             is revoked and the defendant is sentenced as provided in pages 2 through                  2       of this judgment.
  This sentence is imposed pursuant to the Sentencing Reform Aet of 1984.


           IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
  change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
  fully paid. If ordered to pay restitution, the defendant shall notifY the court and Umted States Attorney of any material change in the
  defendant's economic circumstances.
                                                                                   February 10, 2012
                                                                                   Date of Imposition of Sentence




                                                                                   HON.DANA~                        W
                                                                                   UNITED STATES DISTRICT JUDGE




                                                                                                                                          06CR I 023-DMS
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AO 245D (CASD)(Rev. 12111) Judgment in a Criminal Case for Revocations
           Sheet 2 ,~ Imprisonment

                                                                                              Judgment - Page _ _2_ of        2
 DEFENDANT: JAVIER ASTORGA REYES
 CASE NUMBER: 06CRI023-DMS
                                                                IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          SIX (6) MONTHS consecutive to sentence in Superior Court of Cali fomi a, County ofImperial, Dkt. No. JCF27777.




    o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States Marshal.
     o   The defendant shall surrender to the United States Marshal for this district:
            Oat 	                                     Da.m.         Dp·m.   on 

                as notified by the United States Marshal. 


     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o b	efore ------------------------------------------------------------------------
           o a	s notified by the United States Marshal.
           o	   as notified by the Probation or Pretrial Services Office.


                                                                         RETURN
 I have executed this judgment as follows:

         Defendant delivered on 	                                                  to

 at 	 ___________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                            By 	_______~~~~~~~~~~--------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                    06CR1023-DMS
